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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                NORTHERN DIVISION

U.S. EQUAL EMPLOYMENT                       )
OPPORTUNITY COMMISSION,                     )
                                            )
Plaintiff,                                  )       Civil Action No.: 21-cv-00652-GLR
                                            )
v.                                          )
                                            )
KOERNER MANAGEMENT                          )
GROUP, INC.                                 )
d/b/a IHOP                                  )
                                            )
Defendant.

                      NOTICE OF WITHDRAWAL OF MOTION TO
                   COMPEL DISCOVERY RESPONSES FROM DEFENDANT

        Plaintiff the U.S. Equal Employment Opportunity Commission (“EEOC”) filed this

action under Title VII of the Civil Rights Act of 1964, alleging that Defendant Koerner

Management Group, Inc. (“KMG”) subjected female employees to unlawful harassment because

of their sex. See ECF No. 1. EEOC moved this Court for an Order compelling Defendant to

serve responses to EEOC’s discovery requests and holding Defendant waived any objections to

such requests for failure to timely assert them (See ECF No. 20 – the “Motion”). EEOC now

withdraws its Motion, without prejudice, as described below:

     1. On July 13, 2021, EEOC served its First Request for Production of Documents and

        Second Set of Interrogatories on Defendant (the “discovery requests”). Responses and

        any objections to EEOC’s discovery requests were due August 12, 2021.

     2. Having received no responses to its discovery requests or communications concerning the

        discovery requests, on September 3, 2021, EEOC filed the subject Motion.
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   3. On September 9, 2021, and September 12, 2021, Defendant served EEOC with responses

      to the discovery requests.

   4. Following this production EEOC agreed to withdraw its Motion, subject to EEOC’s right

      to file subsequent motions as needed to address inter alia deficiencies in the responses

      and/or Defendant’s waiver of objections.

   5. EEOC hereby withdraws its Motion as described above and without prejudice to any

      claims or arguments therein.

Dated: September 14, 2021




                                                                                    Respectfully,

                                                                         /s/ Thomas D. Rethage
                                                                                Thomas Rethage
                                                                     Trial Attorney, U.S. EEOC
                                                                    Philadelphia District Office
                                                      801 Market St, Suite 1000 Phila.PA 19107
                                                                         Phone: (267) 589-9756
                                                                      thomas.rethage@eeoc.gov
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U.S. EQUAL EMPLOYMENT                      )
OPPORTUNITY COMMISSION,                    )
                                           )
              Plaintiff,                   )      Civil Action No.: 21-cv-00652-GLR
                                           )
v.                                         )
                                           )
KOERNER MANAGEMENT                         )
GROUP, INC.                                )
d/b/a IHOP                                 )
                                           )
Defendant.
                                 CERTIFICATE OF SERVICE
       I hereby certify that on September 14, 2021, I filed a true and correct copy of EEOC’s
foregoing Notice of Withdrawal of Motion to Compel Discovery Responses via the Court’s ECF
system, which caused a copy to be served on:
                                      K. Nichole Nesbitt
                                      knn@gdldlaw.com
                                        Jessica J. Ayd
                                     jayd@gdldlaw.com
                            Goodell, DeVries, Leech & Dann, LLP
                   Attorneys for Defendant Koerner Management Group, Inc



                                                  /s/ Thomas D. Rethage
                                                  Thomas Rethage
                                                  Trial Attorney, U.S. EEOC
                                                  Philadelphia District Office
                                                  801 Market St, Suite 1000 Phila.PA 19107
                                                   Phone: (267) 589-9756
                                                  thomas.rethage@eeoc.gov
